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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMRES CORPORATION : CIVIL ACTION
Vv. : NO, 24-771
MICHAEL MUFFOLETTO, T2 :
FINANCIAL, LLC :
ORDER

AND NOW, this 25" day of April 2024, upon considering Defendants’ Motion to
dismiss (ECF No. 25) without timely Opposition, Plaintiff instead electing to move to
amend/correct (ECF No. 26) its third amended Complaint (ECF No. 21) opposed by Defendants,
following today’s conference (ECF No. 27) where we heard oral argument on the proposed
fourth amended Complaint after having studied the Motion to dismiss (ECF No. 25) and finding
Plaintiff sufficiently pleads our specific personal jurisdiction over newly named parties Anthony
Grothouse and Timothy Johnson on the claim of tortious interference with the Bucks County
Plaintiff's employment agreements but not presently resolving whether Plaintiff can plead
remaining claims, itis ORDERED we:

1. GRANT Defendants’ Motion to dismiss (ECF No, 25) as unopposed under Local

Rule 7.1;
a. With prejudice as to Plaintiff's claims for breach of fiduciary duty by T2
Financial, LLC, breach of a non-solicitation agreement by T2 Financial, LLC, and tortious
interference by Michael Muffoletto;
b, Without prejudice as to Plaintiff's claims for breach of fiduciary duty by

Michael Muffoletto, breach of sections 6, 7, and 8 of a non-solicitation agreement by Michael

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Muffoletto, and tortious interference with Plaintiff's employment agreements by T2 Financial,
LLC;

2. GRANT Plaintiff's Motion for leave to file a fourth amended Complaint (ECF
No. 26) requiting it file, by no later than April 29, 2024, a fourth amended Complaint with
claims not dismissed with prejudice and mindful of its obligations under Rules 8 and 11
including being informed by our concerns with its earlier pleading of breaches of sections 6 and
8 in the third amended Complaint;

3, REQUIRE Plaintiff timely serve the summons and fourth amended Complaint
upon the newly named parties (in the hope T2 Financial, LLC’s counsel may either accept or
assist in service) so we can ensure review of preliminary dispositive motions at one time; and,

4, REMIND all parties of their continuing obligations under our March 21, 2024

Order (ECF No. 14),

